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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    SAN JOSE DIVISION

 GURMINDER SINGH,                                     Case No. 5:16-cv-03734-BLF

                          Plaintiff,

           v.

 GOOGLE LLC,                                          JURY TRIAL DEMANDED

                          Defendant.


                                       STIPULATION OF DISMISSAL

          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, Gurminder Singh, and

Defendant, Google LLC, by and through their respective counsel of record, hereby stipulate to the dismissal

of the action. All claims that Plaintiff raised or could have raised in this action are dismissed WITH

PREJUDICE, with each party bearing its own attorneys’ fees and costs in connection with or related to this

matter.



DATED: March 14, 2022                            WILSON SONSINI GOODRICH & ROSATI
                                                 Professional Corporation

                                                 By: /s/ Dale R. Bish
                                                       Dale R. Bish

                                                  Attorneys for Defendant

                                                 EDGAR LAW FIRM LLC

                                                 By: /s/ Michael R. Owens
                                                       Michael R. Owens

                                                  Attorneys for Plaintiff
